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                                    United States District Court
                                              For The
                                     District of North Dakota

            Amended Petition for Action on Conditions of Pretrial Release (08/17/2023)

                United States of America         )
                                                 )
                          vs.                    )   Docket No.: 0868 1:22CR00134-3
                                                 )
                Montessa Joy Packineau           )

COMES NOW, Stephanie Cherney, PRETRIAL SERVICES OFFICER, presenting an official
report upon the conduct of defendant, Montessa Joy Packineau who was placed under pretrial
release supervision by the Honorable Clare R. Hochhalter, Magistrate Judge, sitting in the Court
at Bismarck, on February 23, 2023, under the following conditions:

     1. The defendant must not violate federal, state, tribal, or local law while on release.

     2. The defendant must advise the Office of Probation and Pretrial Services and defense
        counsel in writing before making any change in address or telephone number.

     3. The defendant must appear in court as required and must surrender to serve any sentence
        imposed.

     4. The defendant must sign an Appearance Bond, if ordered.

          IT WAS FURTHER ORDERED that the release of the defendant be subject to the
          conditions set forth below:
    5.     Defendant shall refrain from: any use of alcohol; any use or possession of a narcotic drug
          and other controlled substances defined in 21 U.S.C. § 802 or state statute, unless
          prescribed by a licensed medical practitioner; and any use of inhalants. Defendant shall
          submit to drug/alcohol screening at the direction of the Pretrial Services Officer to verify
          compliance. Failure or refusal to submit to testing or tampering with the collection
          process or specimen may be considered the same as a positive test result.
    6.    Defendant shall not possess a firearm, destructive device, or other dangerous weapon.
    7.    Defendant shall undergo a substance abuse and/or mental health evaluation if required by
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          the Pretrial Services Officer and comply with resulting counseling or treatment
          recommendations.
    8.    Defendant shall submit person, residence, vehicle, and/or possessions to a search
          conducted by a Pretrial Services Officer at the request of the Pretrial Services Officer.
          Failure to submit to a search may be grounds for revocation of pretrial release. Defendant
          shall notify any other residents that the premises may be subject to searches pursuant to
          this condition.
    9.    Defendant shall not knowingly or intentionally have any direct or indirect contact with
          co-defendants, except that counsel for the defendant, or counsel’s agent or authorized
          representative, may have such contact with such person(s) as is necessary in the
          furtherance of the defendant’s legal defense.
    10. Defendant shall reside at Prairie Recovery Center in Raleigh, ND and shall participate in
          the facility’s program and abide by its rules and regulations. Defendant shall not change
          this address without prior approval of the Pretrial Services Officer and shall approve any
          plan to transition from successful completement of treatment with the Pretrial Services
          Office.
    11. If Defendant is terminated from treatment for any reason, she must immediately report to
          the U.S. Marshals Service.
    12. Except upon prior approval form the Pretrial Services Officer, Defendant’s travel is
          restricted to North Dakota.
    13. Defendant shall be released at 9:00 AM on February 23, 2023, for transport to Prairie
          Recovery Center by the MHA Recovery Team.


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE
AS FOLLOWS:

    1) Violation of Condition #5: Defendant shall refrain from: any use of alcohol; any use
    or possession of a narcotic drug and other controlled substances defined in 21 U.S.C. §
    802 or state statute, unless prescribed by a licensed medical practitioner; and any use of
    inhalants. Defendant shall submit to drug/alcohol screening at the direction of the
    Pretrial Services Officer to verify compliance. Failure or refusal to submit to testing or
    tampering with the collection process or specimen may be considered the same as a
    positive test result. The defendant has tested positive for fentanyl on two sweat patches on
    April 27, 2023 and May 11, 2023, both of which were confirmed positive by the laboratory.
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2) Violation of Condition #5: Defendant shall refrain from: any use of alcohol; any use or
possession of a narcotic drug and other controlled substances defined in 21 U.S.C. § 802 or
state statute, unless prescribed by a licensed medical practitioner; and any use of inhalants.
Defendant shall submit to drug/alcohol screening at the direction of the Pretrial Services
Officer to verify compliance. Failure or refusal to submit to testing or tampering with the
collection process or specimen may be considered the same as a positive test result. The
defendant has tested positive for fentanyl on June 9, 2023, June 30, 2023, and July 27, 2023, all
of which were confirmed positive by the laboratory.

PRAYING THAT THE COURT WILL ORDER: The defendant is currently in custody at
Burleigh Morton Detention Center.


                                                 I declare under penalty of perjury that the
                                                 foregoing is true and correct.

                                                 Respectfully,

                                                 /s/ Stephanie N. Cherney               08/17/2023
                                                 U.S. Pretrial Services Officer
                                                 Place: Bismarck



                                  ORDER OF THE COURT


Considered and ordered this _____
                             ____ day of August, 2023, and ordered filed and made a part of the
record in the above case.




                                            __________________________________________
                                            ______
                                                 _______
                                                      ___________________________________
                                                      ____                            _ ___
                                                                                          _ _____
                                                                                               _______
                                               Clare R
                                                     R. Hochhalter
                                               U.S. Magistrate Judge
